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DISCLAirVIER
This Employee Handbook provides an overview of Generac Power Systems, Inc. ("Generac") and summarizes some of the
employment guidelines of Generac. It has been prepared to acquaint all em ployees with Generac policies and procedures, rules, and
regulations and help direct you to the appropriate individuals to answer questions. It is your responsibility to read and become familiar
with this handbook. If you have any questions that are not answered in this handbook and a specifi c contact to answer you r question is
not provided, pl ease direct your questions to Human Resources.

This Employee Handbook has been prepared for informational purposes only and is not intended to cover all
policies, plans and procedures of Generac. Nothing in this handbook constitutes a guarantee of employment,
a guarantee of any other rights or benefits or a contract of employment, express or implied. Term ination of
employment may occur at any time. without notice, and with or without cause, at the opt ion of Generac or
the employee. Generac may modify or eliminate the provisions set forth in this handbook at any time with or
without notice. Generac reserves the right to modify, add, revoke, suspend, terminate or change any or all
plans, policies or procedures of the company, in whole or in part, at any time with or without notice. The
informatio n contained in this Employee Handbook is confidential and proprietary to Generac. This Employee
Handbook is for internal use only and may not be distributed outside of Generac. The collective bargaining
agreement shall control in case of a direct conflict between this handbook and any specific provision of a
collective bargaining agreement.


WELCOME
W elcome to Generac! It's a great time to j oin the power generation industry and we are excited to have you as a member of our team!

Together, Generac and our subsidiaries have over 100 years of market experience and combined with our employee's knowledge,

commitment. and strong brands, we are positioned incredibly well as a leader in the global market for backup power solutions.


Our employee handbook is intended to familiarize you with Generac and our approach to doing business. Our guiding principles,

including our vision. mission, and values, are important factors in the decisions we make every day. These principles apply to all

Generac locations and should provide important guidance for your conduct at the company as well as influence your personal and

professional success here at Generac. As a U.S. based company traded on the New York Stock Exchange under the ticker symbol

GNRC, ou r Corporate Governance policies create an important foundation for all employees to ensure we consistently apply ethical and

sound business practices in everything we do.


Last but certainly not least, I would like you to know that as member of our team , you are a part of the company's most important asset

- our people. The successes we have achieved would not be possible without the hard work and dedication of our employees.




Sincerely,




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Aaron Jagdfeld

President & CEO

Generac Power Systems, Inc.




OUR HISTORY
The history of Generac Power Systems is a success story marked by continuous innovative engineering, vertically integrated
manufacturing and a can-do philosophy.

Generac Power Systems was incorporated in 1959 when Robert D. Kern applied a new silicon diode technology to portable generators.
Manufacturing began with five employees in a garage in Wales, WI. The first Generac products were well received and very successful
in the refrigeration and utility truck industry. By 1960, an entire new product line was added- the engine generator. Customer
acceptance was very encouraging, and in 1961 G enerac began an association with Sears, Roebuck and Co. as producer of Craftsman
brand portable generators- a relationship that would last more than 40 years.

It wasn't long before the company's success required manufacturing facilities to grow. The dairy barns at Brookhill Farms in Wales were
remodeled in 1962 to give Generac more space. and production continued there for the next three years. As Generac continued to
design, develop and manufacture products for a growing market, the company soon needed even larger facilities. In 1965, operations
were moved to the newly constructed Waukesha facility, the site of which continues to be Generac corporate headquarters.

In 1967, a fire completely destroyed the original Waukesha facility. Nine volunteer fire departments battled the blaze. but the building
was ultimately lost. Undaunted by the disaster, however, Generac employees, their famil ies, and friends moved all salvageable
equipment back to the barn in Wales and resumed production within two days of the fire, until the Waukesha facility was rebuilt.

From 1972 to 1978, generator sales rontinued
to increase as Generac expanded its offerings to
multiple markets, primarily selling portable
generators. In response to the collapse of the
consumer market in the 1980s-brought about
by the oil embargo and troubled U.S. economy-
Generac diversified its product offering by
developing new and more powerful industrial
and commercial generators up to 250 kW.

In the early 1990s, Generac pioneered the Generac overhead valve industrial (OHVI) engine-designed and built specifically for
generator use. These engines continue to drive Generac portable and automatic home standby generators. At about the same time , the
company added pressure washers to its portfolio, and with them earned severa l patents that redefined industry standards .

With the turn of the century, Generac launched modular power systems (MPS}, which redefined generator paralleling (using two or more
smaller generators instead of a single large generator). In 2003 came the Generac Bi-FueiTM generator, which runs on a mixture of diesel
fuel and natural gas.

In late 2006, Mr. Kern sold Generac to CCMP Capital, New York, N.Y. A year after celebrating its 50th anniversary as a U.S.-based
manufacturing company-Generac began trading on the New York Stock Exchange under the ticker symbol GNRC.

2011 saw Generac make the first strategic acquisition in its history, with the purchase of Magnum Power Products in Berlin. Wis. A
leading manufacturer of light towers , mobile generators, and industrial pumps. Magnum Power Products helped Generac pursue its
·powering Ahead" strategic plans with a complementary mix of products and distribution channels.



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The fol lowmg year, Generac acquired Ottomotores, a lea ding manufacturer of power generation equipment 1r Mexico and other parts of
Lati n America , headquartered in Mexico City, Mexico . Ottomotores broug ht Generac a platform for futu re growth in additiona l markets
outside North Am erica throug h Ottomoto res' broad product offerin g of higher outp ut power products and stro ng, established distribu tion
network.

In 2013, Generac acq uired Tower Light Sri, a leading developer and supplier of mobile light towers throughout Europe , the Middle East
and Africa. T he company also purchased the generator products division of Baldor Electric Company, getting access to another complete
line of portable, mobile, sta ndby, and prime power generators up to 2 MW.


GENERAC jS FACILITIES

W aukesha, WI
Corporate Headquarters & Liquid-Cooled Generator Production
265,000 square foot manufacturing facility. Prototype design, testing and productio n of water-cooled generators.

Eagl e, WI
Metal Fabrication & Liquid-Cooled Genset Final Assembly
240,000 square foot manufacturing facility capabilities . Production of base tanks and weather-resistant enclosures, test facilities for
gensets and low voltage switchgear.

Eagle, W I
Technical Training Center
6,000 square foot state-of-the-art multipurpose training center. Features a large demonstration area, hands on workshop and
classroom.

Whitewater, WI
Air-Cooled Engine & Residential Standby Generator Production
300,000 square foot manufacturing faci lity. Production of Generac's trademark O HVI® air-cooled eng ines, RV moto r home generators
& air-cooled generators.

Whitew ater, WI
Distribution Center
200,000 square foot distribution center. This state-of-the-art facility was added to the Whitewater location in 2007.

J effe rson, WI
Portable Products Manufacturing
250,000 square foot manufacturing faci lity. Production of Generac pressu re washers and portable generators.

Os hkos h, WI
Commercial and Industrial Generator Manufacturing
255,000 square foot manufacturing facility. Production of mobile and stationary generators up to 2 megawatts.


QUALITY STATEMENT
As a company focused on the manufacture of power prod ucts for more than 50 years, Generac is proud of the quality and efficiency it
has built into its business operations. It is the persona! respons ibility of every employee to do his/her best to promote the manufacture
of quality merchandise. You are responsible for knowing what level of quality is acceptable in your work, and abide by it. When in doubt,
discuss with your manager. When you complete your work, you should approve of the quality. Poor quality and damaged parts are
expensive to the company and can affect the company's reputation among c ustomers. Don't be satisfied with just getting by. Strive for
100% quality.

We are committed to satisfying both our internal and external customers, by continually improving our
products, our processes, and how we measure ourselves."


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Generac has actually in corporated it into the company's culture. "Customer 1s r ... it is a philosophy that states, "Generac puts you, the
customer, first to ensure your peace of mind by delivering a quality product and ownership experience. " Employees across the
company nominate their colleagues for Customer 1st awards. One award winner is singled out for special accolades every month, with
all nominees recognized by their managers and coworkers in their respective departments.

Additionally, this focus on customers is celebrated every year during Customer 1sr Week. The week long event
reinforces the significance we put on providing a qualify experience for all customers. As part of our culture,
C ustomer 1sr reminds us about our mission and Customer Promise, and encourages employees to recognize
and appreciate each other as customers. Customer 1st Week gives employees across the company the
opportunity to rewa rd each other for the specific ways they honored the Customer 1sr initiative.


VISION
We are an innovative, industry- leading global company that designs, manufactures, and distri butes highly reliable, affordable power
prod ucts, services and solutions.


MISSION
Our team's number one priority is to meet customer's expectations and ensure their peace of mind by delivering a quality product and
ownership experience at an excellent value. By satisfying our customers, we continue to prosper and grow, building a more secure
future for our people and creating value for ou r stakeholders.


CORPORATE VALUES
Integrity
W e practice the highest ethical standards by honoring our commitments and treating everyone with fairness, trust and respect.

Innovation
We foster creativity and make s ignificant investments in developi ng and app lying new technologies and ideas to strengthen our market-
leading positions.

People
We believe our success is directly tied to our employees' personal and professional growth. W e recognize their achievements and
share in our mutual success. We care about the safety and well being of our employees, their families, and our communities.

Environment
W e are committed to developing environmentally responsible products and processes.

A g ility
We move with urgency and precision to take advantage of market opportunities and out-execute competitors. We are progress ive and
focused on the future. With our scale and resources, we shape market dynamics, not react to them.

Excellence
W e are committed to delivering quality and performance by continuously reaching for excellence in eve rything we do. We build great
global teams and use our disciplined operating mode! to accelerate profitable growth"


POWERING AHEAD
In 2010, Generac implemented its "Powering Ahead" strategy to bolster Generac's reputation as a respected member of the W isconsin
manufacturing community wh ile position ing the company for dramatic, profitable growth. The Powering Ahead strategy features f our
key elements:



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     GROW the residential standby market. The home sta ndby generator market is one Generac created more than 25 years ago.
     Today we are the clear market leader. Nonetheless, only about 3% of households nationwide have a home standby generator. Our
     goal is to grow this market penetration.

   • GAIN Industrial market share. We believe we achieve this goal by developing and improving our industnal distribution chann els,
     increasing our addressable market with new products. increasing the rate at which our products are specified in power generation
     applications, and applying our leadership position in the growing market for cleaner-burning, more cost-effective natural-gas fueled
     backup power solutions.

   • DIVERSIFY demand with new products. Much of our diversification has been achieved with strategic acquisitions over the last few
     years; these include Magnum Power Products, Ottomotores, and Tower light. We now have access to several new products, new
     markets and new customers.

        ENTER into new geographies. Given that the global market for power generation equipment is
estimated at $12 to $14 billion annually, we believe there are significant growth opportunities for Generac by
expanding into new geographies. The acquisition of the Ottomotores and Tower Light businesses provides us
with an enhanced platform and immediate scale for our international growth initiatives.

Safety
Safety Mission Statement: To provide all Generac employees a workplace free from hazards and empower them to effectively change
or correct those they see.

Generac recognizes the importance of safety, and accepts responsibility to achieve and maintain a safe workplace, with the objective of
ensuring that no employee suffer injury while on the job. Generac believes that safety is an integral part of all operations and is a
primary responsibility of all employees in their specific work function. Generac promotes safe work practices and provides adequate
workspace free from recognized hazards. All employees are expected to prevent accident and injury, correct unsafe conditions and
promptly report any hazard which may develop. Managers and lead personnel are responsible to ensure that employees follow safe
work practices at all times. Always exercise due care when working for Generac. Most accident can be prevented with proper caution-
whether in the office or manufacturing facilities. Always abide by applicable facility safety policies, rules and regulations. AU unsafe
working conditions should be reported immediately to your manager.

Violence in the Workplace/No Weapons Allowed
Generac does not tolerate any type of workplace violence committed by or against employee. You are prohibited from making threats or
engaging in violent actions at work. The following are examples of conduct that is prohibited: (1) causing physical injury to another
person; (2) making threatening remarks; (3) intentionally damaging Generac's property or the property of another person: (4) use or
possession of a weapon while on Generac's property or while on Generac business, except when an employee properly stores a
firearm out of plain sight in his/her vehicle. Any employee determined to have committed such acts will be subject to discipline up to and
including termination. Non-employees engaged in violent acts on Generac's premises will be reported to the proper authorities and fully
prosecuted. Any potentially dangerous situation must be reported immediately to your manager and Human Resources.

Open Door Policy
We value direct, open and honest communication. We encourage you to talk with your immediate manager regularly. Your manager is
here to support you in your individual objectives and activities. We encourage you to share your ideas for improvements and ways to
better serve our customers. Your ideas are highly valuable in helping us maintain our competitive edge. You have the right to discuss
things that are bothersome to you. We firmly believe it is better for employees and management to work tog ether at solving problems
and resolving differences.

Equal Employment Opportunity
Generac is firmly committed to creating a climate where the difference pers pectives th at diversity brings to its business are valued.
Attracting and developing a diverse workforce that reflects the communities in which we serve is at the foundation of this precept.
Generac does not discriminate in employment opportunities or practices on the basis of race. color, religion. age, sex, national origin,
disability, ancestry, sexual orientation, marital status, veteran status, arrest or conviction record, or any other basis prohibited by state



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or federal law. Employment dec1sions will be based on the principles of equal employment oppo rtu ni~y and with the intent to further
Generac's commitment to diversity As a part of Generac's Affirmative Action plan, Generac will:

  1. Recruit, hire, upgrade, train, promote and take all other personnel actions in all job classifications without regard to race, sex, age,
     religion, sexual orientation , arrest record, conviction record, marital status. pregnancy, disability, developmental disability, national
     origin, citizenship, veteran status, military status, disabled veteran status. or any other area of prohibited discrimination;

  2. Encourage all current employees regardless of position to refer others for employment;

  3. Base employment decisions on the principles of equal opportunity employment opportu nity and with the intent to further Generac's
     commitment to affirmative action and workplace diversity; and

  4 . Take affirmative action to ensure that minority group individuals, women, veterabsm qualified persons with a disability and disabled
     veterans are introduced into the workforce and that these employees are encouraged to aspire for promotion and are considered,
     as promotional opportunities arise.

Americans with Disabiliti es Act (ADA)
Generac is committed to complying with the Americans w1th Disabilities Act (ADA) and all other relevant laws protecting the rights of
individuals with disabiliti es. To comply with applicable laws ensuring equ al em ployment opportunities to qualified indivi duals with a
disability, Generac will make reasonable accommodations for the known physical or mental limitations of an otherwise qualified
individual with a disability who is an applicant or an employee unless undue hardship would result.

As part of Generac's commitment to make reasonable accommodations, Generac will also participate in a timely, good faith , interactive
process w ith the disabled applicant or employee to determine effective reasonable accommodations, if any, that can be made in
response to a request for accommodations. Applicants and employees are also obligated to participate and cooperate with Generac
during the interactive process to determine the scope and existence of any reasonable accommodations . Applicants a nd employees are
encouraged to identify reasonable accommodations that can be made to assist them to perform the essential functions of the position
they seek or occupy. Once a need for an accommodation arises, the applicant or employee should contact a manager as soon as
possi ble to request the opportunity to participate in a timely interactive process. By working together in good faith. Generac hopes to
implement any reasonable accommodations that are appropriate and would enable the employee or applicant to perform the essent ial
functions of the position. Any otherwise qualified applicant or employee who requires an accommodation in order to perform the
essential functions of the job should contact Human Resources to request such an accommodation. The individual with the disability
should specify what accommodation he or she needs to perform the job. Generac then will conduct an investigation to identify the
barriers that interfere with th e equal opportunity of the applicant or employee to perform his or her job. If the accommodation is
reasonable and will not impose an undue hardship, Generac will make the accommodation.

Harassment, Discrimination and Retaliation Policy
By fostering and enriching a welcoming culture, our workplace is one that embraces individuality and diversity. As such, Gene rac is
committed to providing a work enviro nment free of unlawful harassment. In keeping with th is commitment, Generac maintains a strict
policy that prohibits unlawful discrimination based on race. color, creed, gender. religion, marital status. age, national origin, ancestry,
disability, medical condition includin g genetic characteristics, pregnancy, military status , sexual orientation, or any other cons ideration
characteristics protected under state and/or federal law.

Th is policy applies to all employees of Generac as well as to non-employees (agents, consultants, outside counsel, outside
accountants. guests, customers. and vendors). It is the obligation and shared responsibility of all employees to adhere to a standard of
conduct that is respectful to all persons within the work environment.

Unwelcome harassment and/or discrimination denigrates, demeans or shows hostility or aversion toward an employee because of race,
color, sex, sexual orientation, gender, gender identity and expression, creed , religion, age, national origin, ancestry disability, marital
status, pregnancy, veteran status, military status, citizenship status or any other attribute or characteristic protected by law and:

  1) Has the purpose or effect of creating an intimidating, hostile, abusive or offensive working environment; or

  2) Has the purpose or effect of unreasonably interfering with an individual's work performance; or

  3) Otherwise adversely affects an individual's work performance.




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Unwelcome harassment and/or discrimination comes in many forms - such as verbal physical, v1sual or written-and may incl ude. but
is not limited to, conduct such as:

     Unwelcome sexual advances;

     Offering employment benefits in exchange for sexual favors;

  • Explicitly or implicitly conditioning any term or condition of employment upon participation in any sexual conduct;

     Making, threatening or engaging in any form of reprisal in connection with a rejection or negative response to any sexual advance;

  • Verbal conduct such as making derogatory, degrading or suggestive jokes , pranks, slurs, comments, remarks or epithets based on
     an attribute or charactenstic protected by law or playing music that is derogatory, degrading, or that contains suggestive jokes.
     slurs . comments. remarks or epithets based on an attribute or characteristic protected by law;

  • Visual conduct such as leering, making sexual and/or inappropriate gestures, displaying or distributing sexually suggestive or
     derogatory cartoons, photographs, posters, calendars. computer screen savers. depictions, drawings, emai ls, instant messages,
     faxes or other writi ngs or documents;

     Physical conduct such as touching, blocking or interfering in any way with another's movement or work, or any assault upon
     another;

  • Engaging in intimidating, threatening or aggressive conduct based on an attribute or characteristic protected by law;

     Any conduct based on an attribute or characteristic protected by law that has the purpose or effect of interfering with another's
    work, or of creating a hostile or offensive work environment; or

  • Retaliating against any employee who has or who has stated an intent to report conduct inconsistent with this policy. Retalia tion
     can be, including but not limited to, verbal or physical threats for having reported or stating an intent to report conduct inconsistent
    with Generac's H arassment, Discrimination and Retaliation poli cy or parti cip ating in an investigation.

The above list is not all-inclusive, but is intended to illustrate the type of conduct that is inappropriate. Additionally, a violation of th is
policy may not necessarily violate applicable federal, state and/or local laws.

Please note that wh ile this policy sets forth Generac's goals of promoting a workplace that is free of prohibited harassment, the policy is
not designed or intended to limit our authority to discipline or take remedial action for workplace conduct which we deem unacceptable,
regardless of whether that conduct satisfies the definition of prohibited harassment

All employees of Generac have a responsibility to report any incid ent of harassment, dis crimination, or retaliation they experience or
observe, and all employees are strongly encouraged to make any such report, as explained further below.

Any employee who violates this policy will be subject to the full range of disciplinary action, up to and including termination of
employment

All questions regarding this policy should be directed to Human Resources or any member of management

Harassment, Discrimination and Retaliation Reporting
In order to nurture and maintain the collaborative and supportive working environment on which we pride ourselves, employees have an
important responsibility in the effective implementation of Generac's policies against harassment, discrimination and retaliation. Any
employee who believes he o r she has been subj ected to or witnessed harassment, discrimination or retaliation, should promptly report
the incident, in confidence, to one of the followi ng:

     His/Her Manager;

    His/Her Department Head;

  • A Human Resources Manager; or

    Any other member of management.

These a re the only designated individuals authorized by this reporting policy to receive and act upon a complaint. If the employee's
manager is involved in the incident, the report should be made directly to either the Department Head or a Human Resources Manager.




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If the employee's Department Head is involved in the incident . the report should be made directly to a Human Resources Manage r. Any
member of management who becomes aware of any complaint of harassment. discrimination or retaliation will immediately contact a
Human Resources Man ager.

Allegations of harassment shall be promptly investigated by a Human Resources Manager in conjunction with the Department Head of
the employee involved (or in conjunction with another person appointed by Human Resources if the Department Head is involved in the
inc1dent) and Generac will take corrective action where appropriate.

All complaints will be treated confidentially to the extent practical for an effective resolution. No employee w ill suffer adverse
employment consequences as a result of making a 990d faith complaint or taking part in the investigation of a complaint. Any employee
fou nd to have committed harassment, discri mination or retaliation will be subject to discipline, up to and including discharge.

Retaliation Prohibited
We provide ourselves in our personal integrity and we feel that it almost goes without saying that retaliation is strictl y prohibited.
Employees who feel that they are experiencing harassment and/or discrimination must feel free to come forward with complaints.
Likev.ise, Generac must be free to conduct a thorough investigation without interference.

Accordingly, Generac wants to make it c lea r that no one may retaliate or discriminate against a person for making a complaint of
harassmenUdiscrimination or for participating in the investigation. Retaliation can be. including but not limited to, verbal or physical
threats for having reported or stating intent to report conduct inconsistent with Generac's Harassment, Discrimination and Retaliation
policy or participating in an investigation .

Any employee who believes that he or she has been the subject of retaliation, or who has witnessed retaliation should promptly notify
his or her manager, Human Resources or any other member of management as outlined above in the "Harassment, Discrimination and
Retaliation Reporting" section.


ABOUT YOUR NEW JOB

Hours of Work
Generac office hours are Monday through Friday 8 a.m. to 5 p .m. Individual hours of work may vary depending on your position,
location, department or shift. Please see your manager or facility-specific addendum for more details. From time to time, the working
schedule may vary to meet schedules.

Overtime
Like the demand for our product. the demand for your services may increase from time to time. If you are asked to work overtime, it is
your obligation to do so. Every effort will be made to give advance notice of required overtime. Employees will be required to work any
overtime hours for which they are scheduled. Excessive overtime absences could result in disciplin ary action. It is the policy of
Generac Power Systems to comply with federal and state legislation covering wage and hour practices. The Fair Labor Standards Act
("FLSA") regulates overtime requirements including what positions are required to be paid overtime and at what rate. All overtime for
hourly and non-exempt employees must be authorized in advance         by a manager. If you work overtime without receiving prior
authorization from a manager, you will be paid for that time. However. you will be disciplined for violating this policy. Working overtime
without prior approval or working any time, including overtime, without recording your time (working "off the clock") is strictly prohibited
and will result in disciplinary action. up to and including termination. Overtime policies are available on Powemet or posted at the
applicable bulletin board at each facility.

Payroll
Employees are paid by direct deposit only every other Friday for work performed during the preceding work week(s). To access your
paystub or W2 , go to www.atsprintfreedom.com. If you have any questions, please contact the Payroll Department.




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Errors in pay should be reported to your manager and the Payroll Department. Correct1ons shall be made on the following pay period
after Payroll 1s notified.

Payroll Deductions, Assignment and Garnishment of \Nages
Several deductions are made from your pay checks . Those deductions requ ired by law are Social Security and State and Federal
Withholding (income) taxes. Unless otherwise required by law - such as a court order- the o nly other deductions will be those that you
authorize to be deducted from your pay. All deductions will be shown on your check stub. We urge you to meet your financial
obligations promptly to avoid any complaints, garnishments, or attachments of wages which would make it legally necessary for the
company to become a part of any action that may be taken to collect accounts of any of its employees. Please contact the Payroll
Department with any questions. In the event there is an error in deductions, the correction will be processed as soon as administratively
possible. Corrections may result in an addition or deduction of an employee's payroll.

Jury Duty
We believe that our employees should meet his/her civic responsibilities and urge you to serve on jury duty when summoned. When an
employee is required to be absent because of jury duty they shall be compensated by the company for the difference between jury pay
and eight hours times the employee's classified rate for each day the employee is paid the jury pay. Evidence of jury pay must be
presented. If the employee is released from jury service duty in the first half of his regular shift, he or she shall be required to report for
work for the balance of his or her shift on lhat day.

Bereavement Pay
You can never be adequately compensated for the loss of a family member through death. However, should such a tragedy occur, it is
our intent to protect you from loss of earnings due to making necessary funeral arrangements and attending the fun eral. You will be
paid a maximum of thirty-two (32) hours or 4 days of straight time for your absence for this purpose for the following immediate family
members only: employee's spouse, child & parents and only 1f held within 30 days of the death of the family member. Verifiable proof
will be required . Employees shall be entitled to bereavement pay not to exceed sixteen (16) hours of straight time or 2 days for the
employees immediate family wh ich shall include the employee's parents-in-law, brother, sister, brother-in-law, sister-in-law,
grandparents, grandchildren, step parents, step children, spouses grandparents and relatives living in the same household and only if
held within 30 days of the death of the family member. Verifiable proof will be required. We intend to exercise the greatest degree of
understanding in such difficult times. We hope that employees will not abuse the provisions of this policy.

Company Property
No employee shall take from the facility any material or equipment belonging to Generac except with permission from authorized
company representatives including managers and Human Resources. Personal tool boxes and carryalls (i.e.: purses, bags, boxes, etc.)
may be subject to inspection. Any employees found to have violated this section will be disciplined up to and including termination.

Attendance
Regular attendance is an essential function of the job you hold at Generac and is expected for all employees as a part of acceptable
performance on the job. Guidelines have been established to ensure regular attendance and to control excessive absenteeism. See
your Manager for the guidelines for hourly employees. Any Generac employee who is absent for three (3) consecutive scheduled
workdays without proper notice shall be considered to have voluntarily terminated his/her employment and will be removed from the
active employment roster.

Leaves of Absence
Generac makes every effort to accommodate medical and family leaves of absence. Employees should notify Human Resources as soon as
you are aware you will need time off the job. In the event a leave is approved, it is your responsibility to keep your employer informed of any
changes and to advise the company in a timely manner if an extension is needed. Failure to retum from an approved leave of any kind will
result in termination. Any employee granted a leave of absence is not guaranteed that he or she will be reassigned to their former job, unless
otherwise required by Jaw. If a leave of absence occurs over any holiday, no holiday pay will be issued. Any leave may affect discretionary
bonus eligibility. Please see Payroll for details.



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The employee must obtain a doctor's certification indicating the need to be placed on medical leave. Further instructions are indicated
on the !eave of absence form. Upon returning from medical leave, a statement from your doctor as to your ability to work is required.
Medical leaves may be granted for a minimum of three (3) days.

Fami ly and Medical Leave - Federal
Generac will grant family and medical leave in accordance with the requirements of applicable state and federal laws in effec t at the
time the leave is granted. No greater or lesser leave benefits will be granted than those set forth in such state or federal laws. In certain
situations. the federal law requires that provisions of state law apply. In any case. employees will be eligible for the most generous
benefits available under applicable law.

Employee Eligi bility
To be eligible for FMLA Leave benefits, you mu st: (1) have worked for Generac for at least twelve (12) months; (2) worked at least
1.250 hours during the 12-month period preceding the start of the leave; and (3) be employed at a worksite where 50 or more
employees are employed by Generac within 75 miles.

T ypes and Duration of FMLA Leave

     Bonding Leave; Serious Health Condition Leave; Leave to care for a family member with a serious health condition ; Active Duty
     Leave

You are eligible for up to a total of twelve ( 12) workweeks of unpaid leave during any calendar twelve ( 12} month period for one or more
of the following reasons:

  a. Because of the birth of your child and in order to care for such c hild {within 12 months after the birth of the c hild);

  b. Because of the placement of a child with you for adoption or foster care (within 12 months of the placement of the child);

  c. In order to care for an immediate family member (spouse, child under 18 years old or a child 18 years old or older who is incapable
     of self-care because of a disability, or parent) with a "serious health conditi on;"

  d . Because of a "serious health condition," as defined by federal or state law. that makes you unable to perform the functions of your
    job; or

  e . Because of any "qualifying exigency" (as defined under the Family Med ical Leave Act) arising out of the fact that an employee's
    spouse, son (of any age), daughter (of any age) or parent. who is serving in any branch of the military (including the National -Guard or
     Reserves). has been deployed or called to active duty in a foreign country ("Active Duty Leave),

Generac reserves the right to deny requests for FMLA Leave where such a denial would be approp riate and authorized under fede ral
law and any applicable state law.

  • Military Caregiver Leave

An employee also may be eligible for Military Caregiver Leave to care for a spouse. son (of any age), daug hter (of any age), parent or
next of kin who is: 1) a current member of the A rmed Forces, including the National Guard or Reserves, and who is undergoing medical
treatment, recuperation, or therapy, is otherwise in outpatient status, or is otherwise on the temporary disability retired list, for a serious
injury or illness, w hich is incurred in the line of duty (or fo r a pre-existing injury or illness which is aggravated 1n the line of duty) and that
renders the service member medically unfit to perform the duties of his or her office, grade, rank or rating, o r 2) a veteran who was a
member of any branch of the Armed Forces, including the National Guard or Reserves, and who is undergoing medical treatment,
recuperation. or therapy, for a serious injury or illness that occurred in the line of duty (or for a pre-existing injury or illness which was
aggravated in the line of duty) at any time within 5 years preceding the treatment. recuperation or therapy. A cov ered service member
incurs a serious illness or injury for purposes of this paragraph when one of the following occurs:

  a. The injury or illness makes him or her medically unfit to perform the duties of his or her office. grade, rank or rating .

  b. It causes the service member to have a VA Service Disability Rating is at 50% or greater.

  c. It is a mental or physical condition substantially impairs their ability to obtain gainful employment




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  d. The VA enrolls the employee in the Department of Veteran Affai rs Program of Comprehensive Assistance for Family Caregivers

Eligible employees are entitled to a total of 26 weeks of unpaid Military Caregiver Leave during a single 12-month period. This single
12-month period begins on the first day an eligible employee takes Military Caregiver Leave (as long as it is w1thin 5 years of the
covered service member's active duty) and ends 12 months after that date. Military Caregiver Leave applies on a per-covered service
member, per-injury basis, so that an employee may be eligible to take more than one 26 week period of Military Caregiver Leave. but
no more than 26 weeks of leave may be taken during any one 12-month period.

An eligible employee is entitled to a combined total of 26 workweeks of leave for all FMLA qualifying reasons during the single 12-
month period described above. For example, if an employee takes 10 weeks of FMLA leave due to his/her own serious health
condition. the employee may take only 16 weeks of Military Caregiver Leave during that same 12 month period.

Definitions
 • A "serious health condition" as referred to above means an illness, injury, impairment, or physical or mental condition that involves:

  1. In-patient care (i.e., an overnight stay) in a hospital or other medical care facility (including any period of incapacity or any
    subsequent treatment in connection with such in-patient care);

 2. A period of incapacity of more than three (3) consecutive full calendar days, and any subsequent treatment or period of incapacity
    relating to the same condition that also involves (i) treatment two (2) or more times by a health care provider or under the
    supervision of a health care provider within 30 days of the start of the incapacity, or (ii) treatment by a health care provider on at
    least one (1) occasion within seven (7) days of the start of the incapacity which results in a regimen of continuing treatment under
    the supervision of a health care provider;

 3. Any period of incapacity or treatment due to pregnancy, or for prenatal care;

 4. Any period of incapacity or treatment due to a chronic serious health condition requiring periodic visits of at least twice a year for
    treatment by a health care provider;

 5. A period of incapacity or treatment which is permanent or long-term due to a condition for which treatment may not be effective.
    during wh ich the employee (or family member) must be under the continuing supervision of, but need not be receiving active
    treatment by. a health care provider; or

 6. Any period of absence to receive multiple treatments by a health care provider or under the supervision of a health care provider.
    either for restorative surgery after an accident or other injury, or for a condition that will likely result in a period of incapacity of more than
    three (3) consecutive calendar days in the absence of medical intervention or treatment.

 • A "qualifying exigency" referenced above under "Active Duty Leave" refers to the following circumstances:

 1. Short-notice deployment: to address issues arising when the notification of a call or order to active duty is seven (7) days or less;

 2. Military events and related activities: to attend official military events or family assistance programs or briefings;

 3. Childcare and school activities: for qualifying childcare and school related reasons for a child, legal ward or stepchild of a covered
    military member;

 4 . Ca re of the covered military member's parent if the parent is incapable of self care;

 5. Financial and legal arrangements : to make or update financial or legal affairs to address the absence of a covered military
    member;

 6. Counseling: to attend counseling provided by someone other than a health care provider for oneself, for the covered military
    member, or child, legal ward, or stepchild of the covered military member;

 7. Rest and recuperation: to spend up to fifteen (15) calendar days for each period in which a covered military member is on a s hort-
    term rest leave during a period of deployment; or

 8. Post-deployment activities : to attend official ceremonies or programs sponsored by the military for up to 90 days after a covered
    military member's active duty terminates or to address issues arising from the death of a covered military member while on active
   duty.




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If both a husband and wife are employed by Generac and are eligible for leave under this policy, they are eligible for a combined total of
12 weeks of leave within the applicable 12-month period when the leave is due to the birth o r placement of a child or to care for a
parent who has a serious health condition, or a combined total of 26 weeks within the applicable 12-month period when the leave is due
to the birth or placement of a child or to care for a parent who has a serious health condition or for Mil itary Caregiver Leave. (However,
in no event shall the husband and wife take more than a combi ned total of 12 weeks of leave within the applicable 12-month period for
the birth or placement of a child or to care for a parent who has a serious health condition).

Notice
Eligible employees are required to provide:

  • When the need for the leave is foreseeable, 30 days advance notice or such notice as is both possible and practical if the leave
     must begin in less than 30 days (normally this should be the same day the employee becomes aware of the need fo r leave o r the
     next business day);

  • When the need for leave is not foreseeable, notice within the time prescribed by Generac's normal absence reporting policy, unless
     unusual circumstances prevent compliance, in which case notice is required as soon as is otherwise possible and practical;

     When the leave relates to medical issues, a completed Certification of Health-Care Provider form within 15 calendar days following
     the request for certification;

  • When the leave relates to Active Duty Leave, a completed Certification of Qualifying Exigency for Military Family Leave form, as
    well as appropriate documentation, including the covered military member's active duty orders;

     When the leave relates to Military Caregiver Leave, a Certification for Serious Injury or Illness of Covered Service member form or
     Certification for Serious Injury or Illness of a Veteran for Military Caregiver Leave form, as well as any necessary supporting
     documentation;

     Periodic recertification (upon request); and

  • Periodic reports during the leave.

You must respond to our questions relative to your leave request so that we can determine if the leave qualifies for FMLA protection;
failure to do so may result in loss or delay of FMLA protections. If you are seeking leave due to an FMLA-qualifying reason for which
Generac has previously granted you FMLA-protected leave, you must specifically reference the qualifying reason or need for FMLA
leave at the time of your request to be away from work. It is not sufficient to simply "call in sick" without providing additional information
which would reasonably cause Generac to believe your absence/time away from work may qualify as an FMLA qualifying event. In all
cases in which you are seeking leave under this policy, you shall provide such notice to Generac consistent with Generac's established
call-in procedures so long as no unusual circumstances prevent you from doing so. Failure to comply with the ca ll-in procedures may
result in a delay or denial of FMLA protected leave.

You must make an effort to schedule a leave so as not to disrupt business operations. During the leave, you may be required to report
periodically on your status and your intention to return to work. Any extension of time for your leave of absence must be req uested in
writing prior to your scheduled date of return to work, together with written documentation to s upport the extension. Your fa ilure to either
return to work on the scheduled date of return or to apply in writing for an extension prior to that date will be considered to be a
resignation of employment effective as of the last date of the approved leave. Employees on leaves for their own serious health
condition must provide fitness-for-duty releases from their health care provider before they will be permitted to return to work. Your
maximum time on a leave of absence, all types combined, and including all extensions, cannot exceed a total of twelve (12) weeks in a
calendar twelve month period, unless you are a spouse, child, parent, or next of kin on leave to care for a Covered Service member, in
which case your leave can last for up to twenty-six (26) workweeks in a cal endar twelve (12) month period.

A leave of absence will not affect the continuity of your employment. Your original date of employment remains the same for seniority
purposes. However, you will not accrue any benefits during the period you are on a leave. If you give written notice of intent not to
return to work, or fail to return to work at the end of your approved leave, you will be considered to have voluntarily resigned from your
position.




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An employee requesting leave for a serious health condition must provide a compl eted FMLA Certification of Health Care Provider
Form supporting the need for the leave. A request for reasonable documentation of family relationship verifying the legitimacy of a request
for FMLA leave may also be required.

You will have fifteen (15) days in which to return a completed Certification form following Generac's request for the certification. If you
fail to provide timely certification after being required to do so, covered leave may be delayed moving forward until the certification form
is finally submitted. Absences counted against you for a late certification will not be reversed absent exceptional circumstances. If you
never return the completed form, the FMLA will be denied and the absences will be unprotected. If the Certification form is incomplete
or insufficient, you will be given written notification of the information needed and will be given a period of seven (7) days to provide the
necessary information.

You will be required to submit a new medical certification form for each leave year for a medical condition(s) that last longer than one
year. Additionally, you are required to submit a recertification of an ongoing condition every six (6) months in connection with an
absence where the duration of the condition is described as "lifetime" or "unknown."

At its discretion, Generac may require a second medical opinion and periodic recertification to support the continuation of a !eave. If the
1st and 2nd opinions differ, a 3rd opinion can be obtained from a health care provider jointly approved by both you and Generac (unless
you accept the second opinion as determinative). The opinion of the 3rd health care provider will be the final and binding decision .

A request for Active Duty Leave must be supported by the Certification of Qualifying Exigency for Military Family Leave form as well as
appropriate documentation, including the covered military member's active duty orders.

A request for Military Caregiver Leave must be supported by the Certification for Serious Injury or Illness of Covered Service member
form or Certification for Serious Injury or Illness of a Veteran for Military Caregiver Leave form as well as any necessary supporting
documentation.

Once Generac has received a complete and sufficient certification form from the employee, Generac will advise the employee whether he or she
has been approved or denied FMLA and, if possible, will advise how much FMLA will be used.

Intermittent Leave
If certified as medically necessary for the serious health condition of either you or your spouse, ch ild or parent, Military Care Giver
Leave and Active Duty Leave may be taken on an intermittent or reduced leave schedule. Otherwise, such leave is not permitted
except at the sole discretion of Generac. If leave is requested on an intermittent basis, however, Generac may require that you transfer
temporarily to an alternative position which better accommodates recurring periods of absence or to a part-time schedule, provided that
the position offers equivalent pay and benefits.

Employees taking unforeseeable intermittent leaves must follow Generac's standard call-in procedures absent unusual circumstances.

Employee Benefits During Family and Medical Leave of Absence
You will be permitted to maintain health and dental insurance coverage for the duration of the leave under the same conditions
coverage would have been provided if you had remained actively at worK. However, you must make arrangements for the continuation
of and payment of insurance premiums before you go on leave status. If you do not retum to work after the leave, or if you f ail to pay
your portion of the premiums, you will be required, under certain circumstances, to reimburse Generac for the costs and expenses
associated with insuring you during the leave. Failure to make premium payments may result in termination of benefits.

Return From a Family and Medical Leave
If you retum from your leave on or before being absent for twelve (12) workweeks in calendar twelve (12) month period or twenty-six
(26) workweeks if you took a leave under Military Caregiver Leave provision, you will be restored to the same or to an equivalent
position to the one you held when the leave started . Of course, you have no greater right to reinstatement or to other benefi ts and
conditions of employment than if you had been continuously employed during the FMLA leave period . In determining whether a position
is "equivalent" we would look at whether the position had substantially similar terms and conditions of employment and whether the
position entails simil ar duties, skills, efforts, responsibilities, authority, privileges and status.



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If the leave was due to your own serious health condition, you wili be reauired to submit a fitness -for-duty certification from your health
care provider in accordance with ou r normal policies and practices applicable to other leaves of absence. certifying that you are able to
resume work and perform the essential fu nctions of the job, either with or without a reasonable accommodation. A list of the essential
job functions will be made available to you for compliance with this requirement. If a reasonable j ob safety concern exists, you also may
be required to provide a fitness for duty certification up to once every 30 days before returning from an mtermittent or reduced schedule
FMLA leave related to your own serious health condition. Generally, a returning employee will be permitted to return to work within two
(2) business days of Generac's receipt of a valid fitness for duty rel ease.

If you fail to retu rn to work at the expiration of your approved Family and Medical Leave, it will be considered to be a resignation of your
employment with us. Likewise. an employee on FMLA leave who provides notice of their intent not to return to wo rk upon expirati on of a
leave will lose their entitlement to FMLA leave and related benefits.

Key Employees -Certain highly compensated key employees may be denied reinstatement when necessary to prevent "substantial and
grievous economic injury" to Generac's operations. A "key" employee is a salaried Employee who is among the highest pa1d 10% of
Employees at that location, or any location within a 75-mile radius. Employees will be notified of their status as a key employee, when
applicable, after they request a Family and Medical Leave.

Paid Benefits and Coordination with Other Policies
If yo u are taking leave under Federal FMLA, you must substitute any accrued paid time off (if you otherwise qualify) for unpaid leav e
under this policy, and any such paid time off must be taken concurrently with your Family and Medical Leave. If you otherwise qualify
for Generac's disability pay, you will receive those benefits at the same time you are on unpaid Family and Medical Leave.

Further, if you otherwise qualify for any other type of leave of absence, you must take that leave at the same time as you are taking
your Family and Medical Leave. To receive any type of paid time off benefit while on FMLA leave, you are required to meet Generac's
conditions for taking the paid leave.

No employee who is on any short-term or long-term disability leave shall engage in any other work. Employees who have existing
regular or pa rt-time positions in addition to working for Generac are not precluded from working their normal hours for that other job
except when they are on short-term or long-term disability leave f rom Generac due to their own medical condition. Failure to comply
with this provision may result in discipline, up to and including termination. An employee shall not be granted a leave of absence for the
purpose of seeking or taking emp loyment elsewhere or operating a private business. Unauthorized work while on a leave of absence
will res ult in disciplinary action, up to and including discharge.

Anti-Retaliation Provision
Be assured that no retaliation will be taken or tolerated against any employee who exercises his/her rights under our FMLA po licy. If
you feel that you have been the victim of any discrimination or retali ation under this Policy. you are encouraged to contact Human
Resources so that the matter can be promptly investigated and remedied as appropriate.

Wisconsin Family Medical Leave
To qualify for WFMLA leave (only for eligible employees based in Wisconsin facilities), you must have done the following:

  1. Have been employed at Generac for at least 52 consecutive weeks in the preceding 12 calen dar months ..

  2. Worked at least 1,000 hours in the preceding 52 week period.

Eligible employees are entitled to:

  1. Up to six weeks in a calendar for the birth or adoption of a child, to begin within 16 weeks of the birth or placement of that child (no
    more than one 6-week period per child).

  2. Up to two weeks in a calendar year to care for a child, s pouse, domestic partner, or parent (including parents of your s pouse or
    domestic partner) with a serious health condition .

  3. Up to two weeks in a calendar year for your own serious health condition .




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FMLA and WFMLA leave shall run concurrently. FMLA or W FMLA leave shall also run concurrently with any worker's compensation
leave ( if applicable). Unless otherwise required or allowed by law. requests for W FMLA leave shall follow the FMLA procedures detailed
above.

Personal Leave
In general personal leaves are not allowed however a leave of absence may be considered for extenuating circumstances. You should
discuss your situation with your manager and then immediately notify Human Resources.

Military Family Leave
Eligible employees with a spouse, son, daughter, or parent on active duty or call to active duty status in the National Guard or Reserves
in support of conti ngency operation may use their 12 weeks of Family Medical Leave to address certain qualifying exigencies. For
further information please contact your Human Resource Department.

Military Leave
Generac will grant military leaves of absence and reinstatement rig hts to eligible employees consistent with federal and state law.
Eligible employees are those who serve in the uniformed services. The difference between your regular pay and military pay will be
made while serving in military organizations. A copy of the orders and a receipt of payment to the employee by the government must be
submitted to Human Resources . For further information on you r rights and benefit provisions during military duty, please contact Human
Resources. The preceding guidelines for FMLA and Military Family Leave are merely a summary. Generac's Family and Medical Leave
Policy shall govern any and all leaves subject to the Policy. Please contact Human Resources for a copy of the Policy or for any related
inquiries.

Holidays
Generac recognizes and pays its employees for these holidays, plus one additional holiday scheduled at the company's discretion:

             New Years Day          Thanksgiving Day

             Good Friday            Day after Thanksgiving

             Memorial Day           Christmas Eve Day

             Independence Day       Christmas Day

             Labor Day



When a paid holiday falls on a Saturday or Sunday, it will generally be observed on the preceding Friday or the following Monday.
Check with your Human Resources department for holiday pay eligibility. The requirement for receiving holiday pay for non-exempt
employees is that you must be on Generac's payroll for a period of at least six (6) weeks (thirty working days), and work the full,
regularly-scheduled work day before and after the holiday. including any overtime. Holiday pay is calculated for hourly employees by
multiplying eight hours time the individual employee's hourly rate for the week in which the
holiday occurs.

Benefits Programs
Generac is proud to offer a competitive, comprehensive benefits program coupled with tools and resources to help you use your benefits
wisely. Details regarding your benefrt options are covered in benefit orientation materials and found on Generac's intra net site. The
following benefits are offered:

  • Medical/Prescription Plans

  • Healthy Living Wellness Initiatives

  • Dental

  ·Vision

  • Disability Income



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  • Basic Life and Accidental Death & Dismemberment

  • Optional Life

  · Voluntary Accident

  • Health Care and Dependent Care Flexible Spending Plan(s)

  • 401k Savings Plan and Employer Match

  • Business Travel Accident Insurance

  • Business Travel Life Insurance

  • Employee Assistance Plan

  • Employee Stock Purc hase Plan (GNRC)

  ·Tuition Reimbursement

  • Holidays

  · Vacation

  • Bereavement Pay

  • Jury Duty Pay

  • Workers Compensation Coverage

  • Employee Discount Programs

  • Generac Product - Employee Purchase Discounts

Vacation with Pay- Office
Employees shall receive paid vacation in accordance with the general guidelines as detailed in the applicable benefits summar y.
Employees are expected to pay back any unearned but taken vacation time. Likewise, if your employment is terminated for any reason,
Generac will pay any earned but not taken vacation at the time of separation.

Educational Assistance Eligibility
Generac encourages employees to continue their education. Only full time Generac employees are eligible for education
reimbursement. Employees must have completed 1 year of employment and be in good stand ing with the company and not involved in
our performance improvement plan or other performance counseling. All courses must be pre-approved by the head of your department
and Human Resources to be eligible for reimbursement. Please contact Human Resources for details about the Educational Assistance
Program.

Unemployment Compensation
Unemployment compensation is designed to provide you with a temporary income when you are out of work through no fault of your
own . The Division of Unemployment Insurance of the State Department of Workforce Development determines your eligibility for
Unemployment Compensation. You may contact Unemployment Compensation at 1 (800) 822-5246 or apply on-line at
www.unemployment.wisconsin.gov.

~1\fo rk er's   Compensation
Generac provides for Worker's Compensation coverage which provides financial assistance to an injured employee whose nonmal earnings
are temporarily or permanently lost or reduced as a result of a disabling injury on the job. This benefit provides for the payment of a percentage
of the employee's normal weekly earnings, a lump sum payment for permanent disability, and/or payment of medical or hospital attention. The
company will investigate every worker's compensation claim. Fraudulent claims are grounds for tenmination. All approved medical expenses
will be paid regardless of the number of days the employee is disabled. All injuries during the course of your employment are to be reported to
your manager. The company will require an accident report completed by you within 24 hours of the injury or illness. This report must be on fil e
in Human Resources in order to protect your right to medical and/or disability benefits.




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It is extremely important to both you and Human Resources that records and personal data be completely accu rate and up-to-date. W e
ask that you advise Human Resources immediately of any changes, including marital status, name changes. number of dependents,
address, telephone number, etc. It is your responsibility to keep the company informed of any changes in order to ensure that your
employment records, Social Security account, insurance, and income tax records are correct. It is also important for the company to be
able to contact you or a cu rrent emergency contact when necessary. Employment records are available to employees upon proper
notification and in accordance with Wisconsin Statute Section 103.13. Employees shall be charged a reasonable fee for copies of their
employment records. Benefits requires timely notification of marital or dependent changes . Failure to notify may result in no benefit
coverage.

Security Policy
  • In an effort to increase security for our facilities and personnel, no visitors (non-Generac employees) will be allowed to enter our
    facilities without registering with the front desk receptionist in the main lobby.

  • Each visitor is required to enter through the main lobby and sign-in at the front desk . They will receive a VISITOR badge which will
     be required to be worn while they are in the facility. This is to inc lude all visitors; vendors, s uppliers, customers, family and friends,
    including all industrial maintenance vendors .

    Each VISITOR badge is numbered and must be returned to the f ront desk before the visitor leaves the building.

  • Visitors must be accompanied by a Generac employee at all times .

  • This does not apply to freight carriers, however, these carriers are required to stay in the shipping or receiving dock areas only.

    A number of areas are for authorized employees only. No visitors should ever be unescorted.

Foreign Trade Zone (FTZ)
The purpose of the FTZ policy is to provide a restricted access site to assemble, store, test and manufacture our product at the
applicable FTZ facilities. Your badge is required to enter the building and must be worn at all times visible above your wais t. If you do
not follow the badge policy, you may be subject to Generac's disciplinary process. In the event your badge has been lost, contact your
manager and/or Human Resources immediately for a replacement.

Dress Code
Generac has a business casual dress code. Under the policy, employees are expected to wear what is appropriate, per our guidelines,
to reflect an environment of professionalism and respect. Detailed guidelines are available from Human Resources or online. Good
judgment should always be applied in consideration of customer visits and other interactions with outside guests. Local management
may specify the requi rement for formal business dress for specific events. and will enforce the parameters for what is appropriate for
dress, per the guidelines. within their department. All departments and employees must maintain these guidelines and do not have
authority to dress down without prior permission from Human Resources. In all cases, our goal is to foster a productive work
environment characterized by excellence, innovation and teamwork. Th e way we dress should reflect this goal and enable us to reflect
our high standards and to present a professional and consistent image. Exceptions to the policy must be approved by Human
Resources and include but are not limited to manufacturing, distribution and lab.

Drug and Alcohol Policy
Generac is a drug-free workplace at all locations and, as such, is committed to the health, safety and productivity of all employees.
Generac recognizes that alcohol and drug abuse adversely affect productivity, efficiency, job performance and workplace safety.
Desiring to promote a safe and efficient workplace, Generac has adopted a drug-free workplace alcohol and drug abuse policy and
drug and alcohol testing program, a copy of which can be viewed on Powemet or posted at applicable facility bulletin boards.

Tobacco-free
Generac is a smoke and tobacco-free building, including electronic cigarettes. Designated smoking areas are located outside the
building and are to be used on ly during lunch periods.




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Courtesy and common sense in parking will help eliminate accidents, person al injuries, damage to your vehicle and to the vehicles of
other employees. A speed limit of 15 m.p.h. must be observed upon entering and exiting the plant grounds. Park in the designated
areas only and abide the reserved parking areas. Spinning of tires and excess speed are all safety hazards and may necessitate
disciplinary action. Generac is not responsible for any loss, theft or damage to your vehicle or any of its contents. Your cooperation in
this matter is expected. V isitor parking is reserved for visitors only. Any employee who fails to observe these guid elines could be
subject to discipline, including issuance of parking tickets or towing by local authorities.

Bulletin Boards and Communication Screens
Bulletin boards are conveniently located in the plant and in the office. No notices, bulletins, or other material s hall be posted anywhere
in the building or removed unless first being authorized by Human Resources. Communication Screens are displayed in each facility.
The screens are to provide consistent communication to employees. We hope you will find this tool helpful in !earning about im portant
information and company happenings including: announcements, upcoming events, safety tips, operations updates and more.

No Solicitation
We do not permit solicitation or posting of notices asking for participation in or contributions for any purpose or organ ization at any time
on its property during working hours, except with permission from Human Resources. The company does not permit peddling of any
kind (i.e. offering for sale articles or services of any kind including s uch items as food, candy, soft drinks. magazine subscriptions,
insurance, etc.) at any time on its property, either by outsiders or employees. This rule does not apply to exceptions authorized in
writing by management (i.e. United Way).

Lost and Found
If you find any lost or misplaced personal property, it should be turned in to Human Resources immediately so it can be returned to its
rightful owner.

Disciplinary Policy
We are confident that our employees will conduct themselves in a professional, business-like manner. For the protection of its property,
business interests and other employees. Generac has established internal guidelines for occurrences. absenteeism and other
disciplinary issues. These guidelines cannot address every situation that might arise and do not limit Generac's right to impose
di scipline for other conduct not covered by these guidelines. Depend ing upon th e nature of the violation and the surrounding
circumstances including , but not limited to, the employee's past work record and past conduct, appropriate discipline (up to and
including termination ) will be administered. Discipline is not guaranteed to be progressive, but will reflect the overall conduct and
performance of the individual. A ny such guidelines do not form a contract between you and Generac as your employment is at-will.

Effect of Termination of Employment
Upon termination of your employment, you are required to return all company-supplied equipment in your possession. Your manager
will examine your tool box, desk or oth er effects to identify company-issued tools and supplies, including without limitation, company
credit cards, computers, cell phones and badges . Any indebtedness to Generac (such as outstanding tuition reimbursement, tool
balance or uniforms) will be deducted from your final pay check or will be collected after separation.


APPLICABLE TO MANUFACTURING
EMPLOYEES ONLY
Probationary Period
The twelve (12) weeks is a probationary period. During this period, we wil l be observing you to determine your aptitude for work, how
conscientious ly you carry out the work assigned to you, your cooperation, your attitude toward your co-workers, and your reco rd for
punctuality and attendance. Generac expects you to have perfect attendance and no disciplinary issues during your probationary
period. Reasonable effort will be made to help you succeed in your new job assignments. If. however, for any reason it is no longer
beneficial for you or Generac to continue this relationship. employment will be promptly term inated.



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Your length of continuous service is recognized as an important asset. Some benefits made available for you after different periods of
service include vacation, life, disabi lity, medical and dental insurance, pay increases. flexible spend ing accounts and 401K.

Advancement Opportunity
It is our policy to promote from within our organization those who demonstrate outstanding ability and loyalty. A notice for a job vacancy will
be posted at all bulletin board locations. If you wish to be considered for another position, please discuss this with Human Resources. You
will be asked to complete a form which we will keep on file for a full calendar year. As jobs become available, and if you are qualified for the
position, you will be interviewed. However, you should understand that there are many qualities we evaluate before making a final
selection.

Vacation with Pay
All Generac employees who work a minimum of 1600 hours within a calendar year and are classified as full-time employees are eligible
for paid vacation. You will accrue vacation time at a rate of hours per week based on years of service. Your anniversary date will be
used to determine earned vacation time. Earned vacation must be taken within one year of your anniversary date. Vacation will not be
carried over. Employees will be eligible on their anniversary date for one (1) week paid vacation after one year, two(2) weeks paid
vacation after two years , three (3) weeks paid vacation after five years, four (4) weeks paid vacation after ten years, five (5) weeks paid
vacation after twenty-five years and six (6) weeks paid vacation after thirty years.

Employees with 120 hours or more of earned vacation may schedule 40 hours of vacation in 4 hour increments in the 1st or 2nd half of
their norma! shift excluding overtime. For hours worked in the prior calendar year in excess of 1000 but less than 40 weeks, a prorated
amount of vacation pay will be paid. No vacation pay will be earned where less than 1 000 hours are worked in a calendar year.
Employees who leave the company, regardless of the reason, will be entitled to a payout of accrued but unused vacation.

Care of Machines, Equipment and Housekeeping
Employees shall keep their place of work, machinery and other company property they use in a clean and orderly condition. There is a
five (5) minute cleanup period during each day for all employees for the purpose of accomplishing this objective. All employees are
expected to use this allocated period for this specific purpose. If we all do our part, we can be confident that the impression made upon
other employees from other departments, customers, and other visitors will be a pleasant one and a credit to each employee. All
equipm ent must be properly maintained, and it is the responsibility of the operator to notify the manager when the equipment he/she is
ope rating is not functioning properly. It is to the operato r's advantage to keep the eq uipment in top operating condition. Willful
carelessness which results in damaged equipment or materials can be cause for immediate dismissal. It is our policy to create and
maintain working conditions which will make our plant a good place in which to work. We ask your help in maintaining clean wash
rooms and drinking fountains.

Lunch Period/Rest Periods
A bell sounds when your rest and lunch periods begin and end. In addition, a warning bell rings two (2) minutes before the end of each
period so that you are at your station when the period is over. When leaving the company premises for lunch, you must punch out and
punch in upon your return, unless your facility is a closed campus.

Clean-up Period
5-minute cleanup period is provided at the end of your work day, during which time you are expected to clean up and organize your
work area. You are to remain in your department until the final bell sounds.

Telephone Calls
Only telephone messages of an emergency nature will be forwarded immediately. Please do not have people calling you on routine
matters during working hours as it interrupts our business. Cell phone use, including text messaging, is not permitted unless used
during your rest or lunch period. Cell phones must remain turned off during working hours. Talk to your manager if you have special
needs.




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You are responsible for making sure that the correct times are collected for the pu rpose of payi ng you accurately. If you have any
problems, including a restriction or missed entry. please notify your manager immediately. If you leave the premises for any reason,
your card must show the time you leave and the time you return. When starting bells ring, you are to be at your station ready to work.

Perso na l Dress and Cleanliness
Suitable dress is required of all employees. From a safety standpoint, it is desirable that slacks be worn by employees. W hile shorts may
be permitted in most manufacturing areas in the plant, good j udgment is expected to be exercised, both by the employee and by the
manager in permitting this type of apparel on extremely warm days. Employees not conforming to normally accepted standards of good
taste will be asked to return home and change into suitable work clothes. AI! employees with longer~than-shou l der-length hair must have
their hair confined to the back. Steel toed footwear that is compliant with ANSI and OSHA standards is required for all employees whose
work normally is performed in the manufacturing area. Generac reserves the right to limit styles of shoes to be selected. Generac will
contribute a set amount to the purchase of OSHA-approved safety shoes upon presentation of a paid receipt and the new shoes. Good
personal hygiene is the expected standard of all employees. You represent Generac and we expect a positive image.

Layoff and Recall
While every effort is made to avoid a layoff. occasionally it does occur. During such periods, work will be spread as evenly as possible.
If a layoff becomes necessary, it will be made on the basis of seniority and/or the company's ability to best meet production standards.
Recall will be handled in the same mann er. An employee on layoff will retain rights based on length of service. Prior service will be
bridged if the employee returns to work after layoff within five (5} years and after completing five (5} years of additional service.

Disciplinary Policy
We are confident that our employees will conduct thems elves in a professional, business-like manner. For the protection of its property,
business interests and other employees, Generac has established guidelines for occurrences, absenteeism and other disciplinary
issues. These guidelines cannot address every situation that might arise and do not limit Generac's right to impose discipline for other
conduct not covered by these guidelines, nor do they limit Generac's right to impose discipline above and beyond the guidelines below.
Depending upon the nature of the violation and the surrounding ci rcumstances including, but not limited to, the employee's past work
record and past co nduct, appropriate discipline (up to and in cluding termination) will be administered. Discipline is not guaranteed to be
progressive, but will reflect the overall conduct and performance of the individual. These guidelines do not form a contract between you
and Generac as your employment is at-will. The following are examples of behaviors subject to certain disciplinary actions:

Occurrence Policy
It is your responsibility to understand and acknowledge the status of your attendance record at all times. If you have questions. your
manager will review your attendance record and any discrepancies will be confirmed through payroll. Employees become s ubject to the
disciplinary process when, during a rolling twelve ( 12} month period of time, they have twelve ( 12} occurrences of a bsence or tardiness.
Each additional half or full occurrence or re-accumulation of (12} occurrences in a rolling twelve (1 2} month period will escalate a step in
the discipline process (not app licable to Oshkosh).

Discipline Process
Any combination of twelve (12) occurrences within a twelve-month period will be subject to a C-5 violation under Plant Rules and
Regulations as written in this handbook. Each additional occurrence will result in a C-5 violation until there are less than twelve (12)
occurrences in a twelve-month period.

Absences and tardies excluded from the occurrence calculation:

  • Inclement weather conditions resulting in a maj ority of employees being tardy.

  • A death in the family covered by our Bereavement Policy.

 • Scheduled and approved vacation time.

  • Time away from woi'K due to an approved Leave of Absence or reasonable accommodation.




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Occurrences will be calculated as follows:

  • One (1) occurrence per full day of absence

  • One half ('I:.) occurrence per day of partial absence including tardiness and/or leaving early

Add itional Information:

  • Multiple or consecutive days of absence may be considered 1 occurrence based on Human Resource discretion, provided t hat
       proper documentation is presented by the employee within 48 hours business days of the absence.

Progressive Disciplinary Policy. When a warning is issued for a violation of a plant rule, it will be documented and kept in your
employee file. Employee warning notices will be dropped from the employee's record twelve (12) months from the date of each violation.
Action in any individual case may not be assumed to establish a precedent in other and different instances. This list is not intended to
cover every situation since no policy can foresee the contingencies of the future. Our progressive disciplinary steps are the following:

  1. Verbal warning

  2. Written warning

  3. Disciplinary suspension

  4 . Discharge for cause

"A" Violations. Violations of the following examples may be considered grounds for immediate discharge:

  1. Theft of company property or property belonging to another employee.

  2.    Falsifying company records, including application forms, labor or time reporting.

  3. Willful damage to company equipment or property.

  4.    Possession of or drinking of intoxicants, or being intoxicated on company property; also possession of dangerous drugs and/or
        narcotics, or being under the influence of same on company property.

  5.    Inappropriate behavior including harassment.

  6.    Insubordination, including refusal orfailure to perform work assigned.

  7.    Gambling.

  8. Sleeping during working hours.

  9. Leaving the plant without permission.

  10. Unauthorized possession of dangerous or illegal firearms, weapons or explosives on company property.

  11. Violations of any Generac policy, including without limitation, the drug and alcohol policy.

"B" Violations. Violations of the following examples may be considered to be sufficient cause for written warning and suspension.
Subsequent (2nd) violation will be sufficient cause for discharge:

  1.    Violation of the tobacco-free policy in this handbook.

  2. Misconduct.

  3. Leaving your department or work station without permission.

  4 . Clocking in or out another employees time.

  5. Failure to give proper notice of absence.

  6. Failure to observe safety rules.

  7. Smoking during working hours.
"C" Violations. Violations of the following examples may be sufficient cause for a verbal warning. Second (2nd) violation will result in a
written warning, third (3rd) violation will result in a written warning and suspension, and fou rth (4th) violation wi ll resu lt in discharge:

  1. Use of cell phones or any other electronic device during working hours.

  2.    Failure to be at your work station during working hours.



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  3. W illful disregard for ;:>lar.t housekeeping.

  4 . Lining up early at the time clock.

  5.    Excessive absence and/or tard iness.

  6.    Posting, removing notices. signs on bulletin boards or defamation of company property without the permission of Human
        Resources.

  7. Visiting fellow employees while they are working

  8.    Refusing to work overtime without good cause.

  9.    Failure to observe applicable facility security policy.

  10. Violation of the "No Solicitation" policy.

  11. Failure to clock in or out when leaving the plant
12.        Failure to observe safety rules.


WAUKESHA & EAGLE ADDENDUM
Call-in Procedure
Punctuality and reg ular attendance is expected of all employees at Generac. It is part of your job to begin work on time. When you
know in advance that you will be unable to report for work, your manager must be advised prior to the day you will be absent. Should
you not have been able to discuss your absence with your manager because of illness. a death in the family, or other emergency, you
are to telephone the absence call-in line before your scheduled shift. Failure to properly notify your employer of your absence or
tardiness may subject you to disciplinary action. The procedure for calling in is:

  1. Before your scheduled shift, call262/544-4811

  2. Dial extension 2430 when prompted

  3. Follow instru ctions given to leave a message

  4. Leave a brief message including: (a) the date and time of your call, (b) your full name, (c) your department name/number, and (d) reason for
       your absence.

Should you have to leave your job during working hours. you must notify your manager, lead person or Human Resources before
leaving and obtain permission. If you do not follow the procedure ca refully, you may be subject to Generac's disciplinary process.

Un ions
We do not require that you pay union dues as a condition of your employment at Generac. All of ou r employees are treated equally w ith
regards to wages, benefits and working conditions regardless of their union membership. If you do join, the company is obligated to
withhold membership dues from each pay check unless you withdraw your membership at which time the deductions stop.


WHITEWATER FACILITY ADDENDUM
Call-in Procedure
Punctuality and regular attendance is expected of all employees at Generac. It is part of your job to begin work on time. W hen you
know in advance that you will be unable to report for work, your manager must be advised prior to the day you will be absent. Should
you not have been able to discuss your absence with your manager because of illness, a death in th e family, or other emergency, you
are to telephone the absence call-in line before your scheduled shift. Failure to properly notify your employer of your absence or
tardiness may subject you to disciplinary action. The procedure for calling in is:

  Before your scheduled shift. call 262/473-5514

  Dial extension 3430 when prompted

  Follow instructions to leave a message.



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  Leave a bnef message, Including:

  Date and time of your call

  Your full name

  The area that you work in

In the event of an employee not calling and not showing up for a scheduled shift. disciplinary actions up to and includ ing te rmination will
be taken.

Should you have to leave your job during working hours, you must notify your manager, lead person or Human Resources before
leaving and obtain permission. If you do not follow the procedure carefully , you may be subject to Generac's disciplinary process.

The Hours of Work
The normal W'Ork week is (5) days, Monday through Friday, (8) hours each day. From time to time, the "M>rking schedule may vary to meet
operation schedules. Employees will be required to work any overtime hours for which they are scheduled. Excessive overtime absences
could result in disciplinary action.

Lunch Period
Lunch period for a straight 8-hour workday is normally 11 :45-12 noon or 12 noon to 12:15. Other schedules may be 12 noon to
12:30pm. However, the lunch period may vary if conditions warrant a change.

Rest Periods
In addition to lunch period, we offer you two- 10 minute paid rest periods each day.

Designated Smoking and Tobacco Policy
The purpose of the policy is to promote safety and health for the staff and customers at the Whitewater facility. Smoking and tobacco is
strictly prohibited throughout the Whitewater facility except in designated areas identified by "Smoking permitted signs". The success of
the smoking and tobacco area will depend on the thoughtfulness. consideration and cooperation of all people who use the smoking and
tobacco area. All employees who use this area will share in the responsibility for a clean smoking and tobacco area. All trash
associated with smoking and/or tobacco usage including but not limited to butts. cigars, matches, cartons etc ... must be disposed of in
designated butt can or trash cans . Employees using smokeless tobacco products may not spit on the grounds in or around a
designated smoking area. Spit shall be deposited in the employee's personal "spittoon" and then disposed of properly in a trash can.
The smoking areas can be modified up to and including removal of the area if excess number of butts is not cleaned up and/or excess
tobacco spit is seen on grounds. Enforcement of this policy is the responsibility of the department supervisors. If found in violation of
this policy or general housekeeping will be subject to the disciplinary process including but not limited to termination .


JEFFERSON FACILITY ADDENDUM
Call In Procedure
If an employee is unable to make it to work for any reason or will be late for any reason. they must follow the steps below. It is the
employee's responsibility to call in to work to report an absence or tardiness. If you do not follow this procedure carefully , you may be
subject to Generac's disciplinary process.

  Before your scheduled shift, call 262/473-5514.

  Dial Ext. 5566 when prompted.

  Follow instructions to leave a message.

 Leave a brief message, including:

  Date and time of your call

  Your full name

 The area that you work in


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In the event of an employee not calling and not showing up for a scheduled shift. disciplinary actions up to and including term;nation wil l
be taken.

The Hou rs of Work
The normal work week is (5) days, Monday th rough Friday, (8) hours each day . From time to time, the working schedule may vary to
meet operation schedules. Employees will be required to work any overtime hours for which they are scheduled. Excessive overtime
absen ces could result in dis ciplinary action.

Lunch Period
Lunch period is normally from 12 noon to 12:30pm. However, the lunch period may vary if conditions warrant it

Rest Periods
In addition to lunch period, we offer you two- 10 minute paid rest periods each day.

Small Appliance Policy
All personal area appliances are strictly prohibited from use at the Jefferson facility. This includes but is not limited to space heaters,
microwaves, coffee machines, toasters, radios, appliances with heating coils and/or digital picture frames. Using personal appliances leads
to overloaded circuits. increase fire hazards and can cause discomfort for others in the working area.

Enforcement of this policy is the responsibility of the department supervisors. If an unauthorized small appliance is found it is
immediately to be removed from the building. failure to adhere to this policy may lead to disciplinary action up to and including
termination.

Closed Campus Policy
The Jefferson Facility will be a closed site for all shop hourly operations. During the working hours personnel will not be able to leave
during breaks or lunch periods. Non work related visitors will not be allowed in the building or in the parking lot.

A designated smoking area will be on site for use on breaks. See Smoking Policy for more details. Enforcement of this policy is the
responsibility of the department s upervisors. Leaving the grounds for any reason without approval        can be considered job abandonment
including but not limited to termination.

Designated Smoking and Tobacco Policy
The purpose of the policy is to promote safety and health for the staff and customers at the Jefferson facility. Smoking and tobacco is
strictly prohibited throug hout the Jefferson facility except in designated areas identified by "Sm oking permitted signs· .

The success of the s moking and tobacco area will depend on the thoughtfulness, consideration and cooperation of all people who use
the smoking and tobacco area. All employees who use this area will share in the responsibility for a clean smoking and tobacco area.
All trash associated with smoking and/or tobacco usage including but not limited to butts, cigars, matches, ca rtons etc ... must be
disposed of in designated butt can or trash cans . Employees using smokeless tobacco products may not spit on the grounds in or
around a designated smoking area. Spit shall be deposited in the employee's personal "spittoon" and then disposed of properly in a
trash can. The smoking areas can be modified up to and including removal of the area if excess number of butts is not cleaned up
and/or excess tobacco spit is seen on grounds. Enforcement of this policy is th e responsibility of the department supervisors . If found in
violation of this policy or general housekeeping will be s ubject to the disciplinary process including but not limited to termination.

Over Time Pay Policy
Like the demand of our product, the demand for your services may increase from time to time. If you are asked to work overtime it is
your obligation to do so.




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If an employee is unable to make 1t to work for any reason or will be late for any reason , they must follow the steps below. It is the
employee's responsibility to call in to work to report an absence or ta rdiness. If you do not follow this procedure carefully , you may be
subject to Generac's disciplinary process.

Before your scheduled shift, you should make every attempt to reach your supervisor at their direct line. If your supervisor is not
available, you should leave a message, including: date and time of your call, your full name, your work area. If you are unable to leave
a message w1th your supervisor, you should call the main number at 920-236-4200 and leave a message (previous instructions) with
the switchboard voicemail.

In the event of an employee not calling and not showing up for a scheduled shift, disciplinary actions up to and including termination will
be taken. Any absence from a specially scheduled work assignment is recorded like an absence from regularly scheduled work. If you
are absent two or more days in a row without reporting your absence to your supervisor, we assume you have voluntarily quit as of the
date your absence began.

Hours Of Work
The regular workweek is 40 hours, made up of four days of ten hours each, subject to customer's needs.

      Normal first shift hours are 6:00a.m. to 4:30p.m. with break times at 9:00a.m. to 9:10a.m., and 2:30p.m. to 2:40p.m. First Shift
      has an unpaid lunch break from 12:00 p.m. to 12:30 p.m.

  •   Normal Second Shift hours are 4:30p.m. to 3:00a.m. with an unpaid lunch break from 10:00 p.m. to 10:30 p.m. Second Shift
      employees should see their supervisor for information on break times.

If a schedule change or overtime is needed, we will announce the change as far in advance as possible. At times, due to customer or
operational needs, we may deviate from our normal break schedule. Your supervisor must authorize any change in these normal work
hours.

Attendance
If you are unable to be at work, you should let your supervisor know by the start of your shift, but no later than one houri nto your
scheduled shift. This notice gives Generac an opportunity to reassign your work for that day. Also, unless other arrangements have
been made, you must call in or on any day you are scheduled to work and cannot report for all or part of your scheduled shift. Any
unreported absence can result in disciplinary action up to and including discharge. You must also keep your supervisor informed about
the status of your absence and you must follow his/her instruction about contacting Generac while absent. You can report your absence
by calling 920-236-4200. If you attempt to contact Generac before the start of your shift is unsuccessful, you are expected to continue
to make contact until you are successful.

An "Absence/Time Off Request Form" should be completed and g1ven to your supervisor each t1me you need to miss any work time
(vacation, etc.) A "Missed Time Report" should be completed upon your return to work, anytime you miss work time. These are
available from your supervisor or Human Resources.

Regardless of the job you hold at Generac, attendance is an essential function of that job. When you are not here, others must perform
your work or it doesn't get done, just as you must help assume the work of others when they are not here. You are needed or your job
would not exist. Please make every effort to be present and on time. Missing too much work may result in disciplinary action and can
result in discharge.

Absences include missed time from all or part of your scheduled workday (e.g. tardies, leaving early, or missing the entire scheduled
workday). Excessive absences of this type will result in discipline under the disciplinary guidelines, including possible discharge. Excessive
absences are defined as:

  • Missing 45 hours of work in any 180-day period




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     Being tardy three (3) times in any 30-day period or five (5) ti mes in any 180-day period. NOTE: Ail time beyond the first hour of a
     tardy is also counted towards the 45-hour guideline mentioned above.

     Excessive Monday or Friday absences (Pattern Absenteeism) may result in disciplinary action.

Holidays
Generac observes these holidays:

             New Years Day                     Thanksgiving Day

             Memorial Day                      Christmas Eve Day

             Independence Day (July 41h)       Christmas Day

             Labor Day                         Floating (1 Day)

As a general rule, you must have worked at Generac for at least 6 weeks before you can get holiday pay. Holiday pay is the same
amount you normally get for working a 1 0-hour day. When Saturday is the holiday, Thursday is usually taken. When the holiday is
Sunday, Monday is usually taken. To get holiday pay, you must work all hours required on the day before and the day after the holiday.
Holiday pay counts as hours worked when computing overtime.

Floating Holiday
Like a vacation day, the floating holiday must be scheduled through your supervisor in order to give him or her the opportuni ty to
schedule someone to cover your work during your absence. In the event that available floating holiday time is not used by the end of
the benefit year, employees will forfeit the unused floating holiday time. Generac reserves the right to assign the floating holiday or
change the schedule at anytime.

Smoking Policy
The purpose of the policy is to promote safety and health for the staff and customers at the Oshkosh facility. Smoking and tobacco is
strictly prohibited throughout the Oshkosh facility except in a designated outside area identified by "Smoking permitted signs". The
success of the smoking and tobacco area will depend on the thoughtfulness. consideration and cooperation of all people who use the
smoking and tobacco area. All employees who use this area will share in the responsibility for a clean smoking and tobacco area.

All trash associated with smoking and/or tobacco usage including but not limited to butts, cigars, matches, cartons etc ... must be
disposed of in designated butt can or trash cans. Employees using smokeless tobacco products may not spit on the grounds in or
around a designated smoking area. Spit shall be deposited in the employee's personal "spittoon" and then disposed of properly in a
trash can.

Enforcement of this policy is the responsibility of the department supervisors. If found in violation of this policy or general housekeeping
will be subject to the disciplinary process including but not limited to termination .

Badge Policy
The purpose of the policy is to provide a restricted access site to assemble, store, test and manufacture our product at the Oshkosh
facility. Your Badge is required to enter the building and for clocking in and out at the time clock. If you do not follow the badge policy,
you may be subject to Generac's disciplinary process. In the event your badge has been lost, contact your supervisor and/or Human
Resources immediately for a replacement.




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HANDBOOK
I acknowledge that I have received and will read Generac's Employee Handbook. I understand that this Employee Handbook         IS   only a
general guide meant to comply with federal. state. and local laws and that I understand that, unless covered by a collective bargaini ng
agreement, except for employment at-will status. any and all policies or practices can be changed at any time by Generac. I understand
that unless otherwise prohibited by law or contract, Generac reserves the right to change my hours. wages. and working conditio ns at
any time.

I understand that I am required to adhere to the guidelines and policies outlined in the Employee Handbook. I also understand that the
guidelines and policies outlined in the most current version of the Employee Handbook supersede previous versions. I understand that I
should consult Human Resources regarding any questions not answered in the Handbook

I understand and agree that other than the SVP of Human Resources . no manager. or representative of Generac has autho rity to enter
into any agreement. express or implied. for employment for any specific period of time, o r to make any agreement for employment other
than at-will; only the SVP of Human Resources has the authority to make any such agreement and then only in writing, signed by the
SVP of Human Resources.




Employee's Name (Please Print)

Employee's Signature

Date




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 GENERAC"                                                                                              Acknowledgement
             Generac Power Systems, Inc.
 ···· ---.-.""··'"'\ii:~::o:
Employee Handbook
Date Issued   05/30/2014      Issuing Department                                          Human Resources
Scope       Generac Power Systems, Inc.




CONFIRMATION OF RECEIPT OF EMPLOYEE
HANDBOOK
I acknowledge that I have received and will read Generac's Employee Handbook. I understand that this Employee
Handbook is only a general guide meant to comply with federal, state, and local laws and that I understand that,
unless covered by a collective bargaining agreement, except for employment at-will status, any and all policies or
practices can be changed at any time by Generac. I understand that unless otherwise prohibited by law or contract,
Generac reserves the right to change my hours, wages, and working conditions at any time.

I understand that I am required to adhere to the guidelines and policies outlined in the Employee Handbook. I also
understand that the guidelines and policies outlined in the most current version of the Employee Handbook
supersede previous versions. I understand that 1 should consult Human Resources regarding any questions not
answered in the Handbook

I understand and agree that other than the SVP of Human Resources, no manager, or representative of Generac has
authority to enter into any agreement, express or implied, for employment for any specific period of time, or to make
any agreement for employment other than at-wil!; only the SVP of Human Resources has the authority to make any
such agreement and then only in writing, signed by the SVP of Human Resources.




Employee Name: (print)-~--------------------­

Employee Signature: - - - - - - - - - - - - - - - - - - - - - - - - -
Date: ____________________________________________




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    Printed copies are considered uncontrolled. For the most recent. accurate version of this policy, please access the currently
                         published document on Powemet or see your Human Resources representative.



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